        Case 1:24-mj-00044-GMH Document 1-1 Filed 02/02/24 Page 1 of 15




                                  STATEMENT OF FACTS

        Your affiant,
        to the Federal Bureau of Investigation’s Washington Field Office, Joint Terrorism Task
Force (JTTF), which specializes in domestic terrorism. In my duties as a TFO-SA, I have gained
training and experience in interviewing and interrogation techniques, arrest procedures, search
warrant applications, the execution of searches and seizures, the exploitation of lawfully obtained
evidence and data, and various other procedures. As an FBI TFO, I am authorized by law or by a
government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of violations of Federal criminal laws.

        Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. Many of my investigations involve the use of technology, analyzing
online and telephonic contacts, and researching suspects’ online activity and footprints. I have
become familiar with the day-to-day operations of individuals using social media and email
accounts to communicate and coordinate criminal activities. I have assisted with numerous
investigations of crimes which involve the use of social media, email, and the internet as a means
of communication. I am authorized to investigate violations of the laws of the United States and
to execute search and seizure warrants issued under the authority of the United States.

                      Background – The U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
        Case 1:24-mj-00044-GMH Document 1-1 Filed 02/02/24 Page 2 of 15




p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                               Identification of KEVIN ALSTRUP

        Photographs and videos of hundreds of persons inside the U.S. Capitol on January 6th
without authority to be there were disseminated via social media and other open-source online
platforms. Those persons included a middle-aged white male of medium height and build, wearing
dark clothes and white sneakers.

        In this case, Google location data received pursuant to legal process showed that a device
associated with the email address                 @gmail.com” was on U.S. Capitol Grounds, or
within the U.S. Capitol building itself, from 1:17:41 PM EST to 3:43:27 PM EST.

       Pursuant to legal process served on Google on or about October 6, 2023, Google produced
subscriber information for the account                 @gmail.com” which identified KEVIN
ALSTRUP as the owner of the account.

         FBI personnel conducted research on ALSTRUP through social media queries, law
enforcement databases, and open-source databases. These efforts returned results including a
District of Columbia driver’s license with ALSTRUP’s name, address, date of birth, and a
photograph, as well as other public records with ALSTRUP’s address, date of birth, and social
security number.

       Through its investigation, FBI personnel obtained information that ALSTRUP was
employed by the United States Department of State (USDOS) as a Diplomatic Security Officer
(DSO). FBI personnel also determined that ALSTRUP, as part of his employment, is familiar with
providing security and protection for high-ranking government officials or sensitive locations, like
embassies.

       After determining that ALSTRUP was employed by the USDOS, FBI personnel provided
photographs of the individual believed to be ALSTRUP at the U.S. Capitol on January 6, 2021 to
one of ALSTRUP’s USDOS supervisors. This supervisor, who works with ALSTRUP on a regular
        Case 1:24-mj-00044-GMH Document 1-1 Filed 02/02/24 Page 3 of 15




basis, confirmed that the images from the FBI investigative file were of ALSTRUP at the U.S.
Capitol. During its investigation, the FBI obtained a copy of the photo from ALSTRUP’s USDOS
identification card, shown in Image 1 below.




                     Image 1 (ALSTRUP’s USDOS ID Card Photograph)


                 ALSTRUP’s Conduct at the U.S. Capitol on January 6, 2021

        While gathering and reviewing the video and photographic materials detailed below, this
affiant viewed video and photographs that capture ALSTRUP holding a digital camera and what
appears to be a digital device or cellphone. In addition, records produced by Meta indicate that
ALSTRUP posted at least two videos to his Instagram account that were captured live by a digital
device in his possession while he was on the U.S. Capitol Grounds on January 6, 2021.

        Specifically, the two images below (“Image 2” and “Image 3”) are screenshots from these
two videos posted to ALSTRUP’s Instagram account which were streamed live to ALSTRUP’s
account on January 6, 2021. Image 2 shows the steps on the Capitol’s east side. Police officers
appear between the Capitol steps and a crowd behind a bike-rack barrier. Image 3 shows a crowd
near the Capitol’s northwest steps and scaffolding. Both videos demonstrate that ALSTRUP was
present at the U.S. Capitol on January 6, 2021. Further, Image 2 demonstrates the obvious presence
of barriers outside of the U.S. Capitol building, which marked the restricted area.
Case 1:24-mj-00044-GMH Document 1-1 Filed 02/02/24 Page 4 of 15




                            Image 2




                            Image 3
Case 1:24-mj-00044-GMH Document 1-1 Filed 02/02/24 Page 5 of 15
Case 1:24-mj-00044-GMH Document 1-1 Filed 02/02/24 Page 6 of 15
Case 1:24-mj-00044-GMH Document 1-1 Filed 02/02/24 Page 7 of 15
Case 1:24-mj-00044-GMH Document 1-1 Filed 02/02/24 Page 8 of 15
       Case 1:24-mj-00044-GMH Document 1-1 Filed 02/02/24 Page 9 of 15




                                       Image 12

     According to open-source video, while he was in the U.S. Capitol Building’s Crypt,
ALSTRUP used a mobile device. (see Image 13 below, which is a still image from a video).




                                           Image 13
       Case 1:24-mj-00044-GMH Document 1-1 Filed 02/02/24 Page 10 of 15




        A few moments after leaving the Crypt, ALSTRUP appeared in and around the lobby
adjacent to the Senate Wing doors. Based on open-source materials and surveillance footage,
ALSTRUP was in and around the lobby adjacent to the Senate Wing doors from approximately
3:28 PM EST to 3:33 PM EST. In the following screenshots, ALSTRUP (circled in yellow) is seen
moving around the lobby and continuing to take photos of the surrounding activity—which
included individuals entering and exiting the lobby through a broken window (see Images 14-17
below). The source video for these screenshots (Images 14-17) also recorded, while ALSTRUP
was in the lobby adjacent to the Senate Wing doors, alarms that audibly and continuously sounded
and a U.S. Capitol Police officer who orally ordered rioters out of the building and gestured for
them to leave.




                                           Image 14
Case 1:24-mj-00044-GMH Document 1-1 Filed 02/02/24 Page 11 of 15




                            Image 15




                            Image 16
       Case 1:24-mj-00044-GMH Document 1-1 Filed 02/02/24 Page 12 of 15




                                         Image 17

       According to U.S. Capitol CCTV footage, ALSTRUP (circled in yellow) walked out of the
U.S. Capitol Building through the Senate Wing doors at approximately 3:33 PM EST (see Images
18-19 below).




                                         Image 18
Case 1:24-mj-00044-GMH Document 1-1 Filed 02/02/24 Page 13 of 15
Case 1:24-mj-00044-GMH Document 1-1 Filed 02/02/24 Page 14 of 15
       Case 1:24-mj-00044-GMH Document 1-1 Filed 02/02/24 Page 15 of 15




disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                                                           _
                                                    Special Agent
                                                    FBI Joint Terrorism Task Force



Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 2nd day of February 2024.



                                                    ___________________________________
                                                    G. MICHAEL HARVEY
                                                    U.S. MAGISTRATE JUDGE
